         Case 1:17-cv-00972-CCR Document 20 Filed 11/28/18 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK

DIANE J. PETERSON,
                               Plaintiff,
v.                                                        Civil No. 17-CV-972
MOOG, INC.,
                               Defendant.


                           STIPULATION OF VOLUNTARY
                            DISMISSAL WITH PREJUDICE

               IT IS STIPULATED AND AGREED, pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, by and between the attorneys for the parties to this action, that

whereas no party is an infant or incompetent person for whom a committee has been appointed,

or conservatee, and no person not a party has an interest in the subject matter of the action, this

action, including all claims and counterclaims, is dismissed on the merits, with prejudice, and

without costs to any party in this action. Each party will bear its own attorneys’ fees.


 DATED: October 27, 2018                          DATED: October 27, 2018

 THE LAW OFFICE OF                                HODGSON RUSS LLP
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 Attorney for Plaintiff

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